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October 14, 2020




VIA FINRA DR PORTAL

FINRA Director of Arbitration
c/o Lisa Lasher, FINRA Case Administrator
FINRA Dispute Resolution
Boca Center Tower 1
5200 Town Center Circle
Suite 200
Boca Raton, FL 33486

Re:    FINRA DR Case No. 19-02053; Beverley B. Schottenstein, et al. vs. J.P. Morgan
       Securities, LLC, Evan A. Schottenstein and Avi E. Schottenstein

Dear FINRA Director:

We represent J.P. Morgan Securities, LLC (“JPMS”) and write respectfully to request that the Director
immediately disqualify James Scutti, who was appointed to serve as a public arbitrator in this case
yesterday. Given his background, Mr. Scutti is permanently disqualified from serving as a public arbitrator
under two independent sections of FINRA Rule 12100(aa).

Rule 12100(aa) provides that the “term ‘public arbitrator’ means a person who is otherwise qualified to
serve as an arbitrator, and is not disqualified from service as an arbitrator” as set forth therein. The Rule
lists a number of circumstances that permanently disqualify individuals from serving as public arbitrators
based on their prior associations or employment.

Subsection (1)(C) of Rule 12100(aa) provides:

       A person shall not be designated as a public arbitrator who is, or was, associated with,
       including registered through, under, or with (as applicable):
       ***
       an entity that is organized under or registered pursuant to the Securities Exchange Act of
       1934, Investment Company Act of 1940, or the Investment Advisers Act of 1940 . . . .

In his Arbitrator Disclosure Report, Mr. Scutti discloses that he was previously employed as an attorney
at the Securities and Exchange Commission, an entity organized under the Securities Exchange Act of
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1934. See United States Securities Exchange Commission, Laws that Govern the Securities Industry
(the Securities Exchange Act of 1934 “created the Securities and Exchange Commission”).1 Accordingly,
the permanent disqualification mandated by Rule 12100(aa)(1)(C) applies to Mr. Scutti.

Subsection (3) of Rule 12100(aa) provides:

          A person shall not be designated as a public arbitrator, who was, for a total of 15 years or
          more, an attorney, accountant, expert witness or other professional who has devoted 20
          percent or more of his or her professional time annually to representing or providing
          services to parties in disputes concerning investment accounts or transactions, or
          employment relationships within the financial industry.

In his Arbitrator Disclosure Report, Mr. Scutti discloses that he was in private practice as an attorney
from 1984 to July 2006, and during that period he “litigated in federal and state courts and arbitrated
before the New York Stock Exchange, NASDR and American Arbitration Association in matters involving
mostly securities laws.” Given this disclosure, the permanent disqualification mandated by Rule
12100(aa)(3) also applies to Mr. Scutti.

Because Mr. Scutti is permanently disqualified from service as a public arbitrator, JPMS respectfully
requests that the Director disqualify Mr. Scutti from serving as an arbitrator in this case and appoint an
immediate replacement.

Thank you for your consideration.


Respectfully submitted,



Gabrielle L. Gould



cc:       Scott C. Ilgenfritz, Esq. (by FINRA Portal)
          Jonathan J. Brennan, Esq. (by FINRA Portal)




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    available at: https://www.sec.gov/answers/about-lawsshtml.html#secexact1934.


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